       Case 2:25-mj-02303-DLM         Document 18       Filed 07/10/25       Page 1 of 1




                        THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


  UNITED STATES OF AMERICA,

         Plaintiff,

  v.                                                            Case No. 2:25-mj-02303-DLM

  GREGORY VANDENBERG, a/k/a
  “GRZEGORZ” VANDENBERG,

         Defendant.


                      ENTRY OF APPEARANCE AS CO-COUNSEL
       COMES NOW, Chaz Rotenberg, Assistant Federal Public Defender, enters his appearance

on behalf of Defendant Gregory Vandenberg as co-counsel for all matters pertaining herein.



                                                   Respectfully submitted,

                                                   FEDERAL PUBLIC DEFENDER
                                                   506 S. Main, Suite 400
                                                   Las Cruces, NM 88001
                                                   (575) 527-6930

                                                   Electronically filed (July 10, 2025)
                                            By:    /s/ Chaz Rotenberg
                                                   CHAZ ROTENBERG
                                                   Assistant Federal Public Defender
